        Case 0:22-cv-61009-RS Document 3 Entered on FLSD Docket 05/27/2022 Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                  for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida

                                                                     )
                                                                     )
                  EDGAR QUINTERO                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                          Civil Action No. 0:22-cv-61009-RS
                                                                     )
                                                                     )
HEALTHCARE REVENUE RECOVERY GROUP LLC d/b/a ARS                      )
         ACCOUNT RESOLUTION SERVICES
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) HEALTHCARE REVENUE RECOVERY GROUP LLC
                                           d/b/a ARS ACCOUNT RESOLUTION SERVICES
                                           c/o REGISTERED AGENT
                                           CORPORATION SERVICE COMPANY
                                           1201 HAYS STREET
                                           TALLAHASSEE, FL 32301-2525


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Alejandro E. Figueroa
                                           Sulaiman Law Group, Ltd
                                           2500 S Highland Ave, Suite 200
                                           Lombard, IL 60148



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




             May 27, 2022
Date:
                                                                                                   s/ M. Brown
